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                   EXHIBIT C
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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF NEW YORK

 FIVE STAR BANK,
                                      Plaintiff,
                                                           CASE NO. 6:24-CV-06153-FPG
                           V.

 KATHERINE MOTT; ROBERT HARRIS; KRM
                                                           ORDER GRANTING
 EVENTS, LLC; KATHERINE’S ON MONROE, LLC;
                                                           SECONDAPPLICATION OF
 THE DIVINITY ESTATE AND CHAPEL, LLC; KNC
                                                           RECEIVER MARK R.
 ELEGANCE, LLC D/B/A THE WINTERGARDEN BY
                                                           KERCHER, CPA FOR
 MONROES; 11 WEXFORD GLEN, LLC; RCC
                                                           ALLOWANCE OF
 MONROES LLC; NAF REMODELING LLC;
                                                           COMPENSATION AND
 MONROES AT RIDGEMONT LLC CRESCENT
                                                           REIMBURSEMENT OF
 BEACH AT THE LAKE LLC; MOTT
                                                           EXPENSES
 MANAGEMENT LLC; KRISTINA BOURNE;
 TAYLOR PAGANO; TIMOTHY LAROCCA,
                                      Defendants.


       Mark R. Kercher, CPA, as court appointed receiver (the “Receiver”), has applied to the

Court for approval to pay fees and expenses of the Receiver and certain professionals for the

receivership. Pursuant to the Order Appointing Receiver Over the Defendant Entities (ECF Dkt.

No. 39), entered by this Court on April 8, 2024 (“Receiver Appointment Order”), Mark R. Kercher,

CPA was appointed receiver for the Defendant Entities in the above-captioned matter.


       WHEREAS, having considered the Receiver’s Second Application for Allowance of

Compensation and Reimbursement of Expenses (“Fee Application”), and any opposition thereto,

the Court finds good cause, and so


       IT IS HEREBY ORDERED that the Fee Application is approved and that the Receiver is

authorized to pay the following amounts for fees and expenses: approving (i) payment of

compensation to the Receiver for the period May 1, 2024 through May 31, 2024 in the amount of
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$33,600.00 on account of actual, reasonable and necessary services rendered under and pursuant

to the Receiver Appointment Order by the Receiver, (ii) reimbursement to the Receiver of actual

and necessary costs and expenses in the amount of $320.07 incurred by Receiver, and (iii) payment

of compensation to Amy Snowberger, CPA for the period June, 2024 in the amounts of $5,248.75

on account of actual, reasonable and necessary services rendered for accounting and bookkeeping

services to the receivership.

       IT IS SO ORDERED this _______ day of _________, 2024.

                                                    _______________________________
                                                    HONORABLE FRANK P. GERACI, JR
                                                    UNITED STATES DISTRICT COURT
                                                    WESTERN DISTRICT OF NEW YORK
